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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JENNIFER LIND,
                                              Civil Action No.
     Plaintiff,

v.
                                              JURY TRIAL DEMANDED
ATLANTA INTERNATIONAL
SCHOOL, INC.,

     Defendant.


                        COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Jennifer Lind (“Plaintiff” or “Ms. Lind”), by and

through undersigned counsel, and files her Complaint for Damages against

Defendant Atlanta International School, Inc. (“Defendant”), and shows the Court

as follows:

                          NATURE OF COMPLAINT

                                         1.

        Plaintiff brings this action for damages for Defendant’s violation of her

rights under the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12111 et seq. (“ADA”), the Family’s First Coronavirus Response Act of 2020




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(“FFCRA”), and those sections of the Family Medical Leave Act (“FMLA”) and

Fair Labor Standards Act (“FLSA”) specifically incorporated by the FFCRA.

                          JURISDICTION AND VENUE

                                          2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343 and 42 U.S.C. § 12117.

                                          3.

      Defendant does business in this judicial district. Additionally, the unlawful

employment practices alleged in this Complaint were committed within this

district. In accordance with 28 U.S.C. § 1391, venue is appropriate in this Court.

                                     PARTIES

                                          4.

      Plaintiff is a female citizen of the United States of America and is subject to

the jurisdiction of this Court.

                                          5.

      During the relevant time period, March 2017, through September 8, 2020,

Plaintiff was employed by Defendant.

                                          6.

      Defendant is licensed to conduct business in this district.


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                                          7.

      Defendant employed Plaintiff during the relevant time period.

                                          8.

      Defendant is qualified and licensed to do business in Georgia, and at all

times material hereto has conducted business within this District.

                                          9.

      Plaintiff is an “eligible employee” within the meaning of the FMLA, 29

U.S.C. § 2601 et seq., in that she had been employed with Defendant for more than

12 months and worked more than 1250 hours in the 12 months preceding her

request for FMLA.

                                          10.

      Plaintiff is a female citizen of the United States of America and a resident of

the State of Georgia and at all such times, Plaintiff was an “employee” of

Defendant as defined under 42 U.S.C. § 12111(4).

                                          11.

      During all times relevant hereto, Defendant has employed fifty or more

employees, within a 75-mile radius of Plaintiff’s employment, for the requisite

requirements under the FMLA.




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                                         12.

      At all such times, Plaintiff was an “employee” of Defendant as defined

under the ADA at 42 U.S.C. § 12111(4).

                                         13.

      During all times relevant hereto, Defendant had employed fifteen (15) or

more employees for the requisite duration under the ADA. Defendant is therefore

covered under the ADA in accordance with 42 U.S.C. § 12111(5).

                                         14.

      Defendant may be served with process via its Registered Agent, Paul Saeger,

at 2890 North Fulton Drive, Atlanta, GA 30305.

                     ADMINISTRATIVE PROCEDURES

                                         15.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) on October 16, 2020.

                                         16.

      The EEOC issued a “Notice of Right to Sue” on February 17, 2021, entitling

an action to be commenced within ninety (90) days of receipt of that notice.




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                                           17.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue.”

                            FACTUAL ALLEGATIONS

                                           18.

      Defendant hired Ms. Lind as a substitute teacher in or about March 2017,

and was soon after hired as full-time faculty for the 2017-2018 school year.

                                           19.

      Ms. Lind has a disability and/or perceived disability.

                                           20.

      More specifically, had been diagnosed with premature ovarian failure, a

condition that leaves her immunocompromised.

                                           21.

      Ms. Lind also suffers from asthma.

                                           22.

      In addition, Ms. Lind is the primary caregiver for both her elderly parents,

who also suffer from a variety of medical ailments themselves.




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                                        23.

      On or about March 17, 2020, as a result of the COVID-19 pandemic and

along with the majority of schools across the country, Defendant began virtual

learning.

                                        24.

      Ms. Lind continued performing her job duties while from home for the

duration of the Spring 2020 semester, including both teaching classes and working

as a German Language Coordinator.

                                        25.

      On or about June 3, 2020, the Director of Human Resources at the time,

Tamara Rambus, sent out an email to the faculty concerning an employee survey

about returning to campus in August.

                                        26.

      The email indicated that employees should reach out to Ms. Rambus, “if you

have a condition that places you at high risk according to the CDC and which you

believe would interfere with your ability to return to work safely on campus in

August.”




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                                          27.

      In response, Ms. Lind reached out to Ms. Rambus and explained her medical

conditions and the issues presented with teaching in-person.

                                          28.

      Ms. Rambus thanked Ms. Lind for letting Defendant know so that they had

plenty of time to prepare.

                                          29.

      Although Ms. Rambus did not request that Ms. Lind provide any supporting

documentation, Ms. Lind asked her medical provider to send a letter to AIS.

                                          30.

      On or about June 10, 2020, Ms. Rambus acknowledged receipt of the

medical accommodation request (i.e. for Ms. Lind to continue remote teaching).

                                          31.

      On or about July 23, 2020, Ms. Lind had her medical provider send another

written request that stated, “Ms. Lind is under my care. I recommend that she not

take part in classroom education currently. She can take part in remote education.

                                          32.

      Again, Defendant acknowledged receipt of Ms. Lind’s request.




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                                           33.

      On August 3, 2020, Ms. Rambus sent Ms. Lind an email with the subject,

“Your Medical Accommodation Request.”

                                           34.

      In the email, Ms. Lind was notified that her request to teach remotely was

approved for the first four weeks of school.

                                           35.

      The email indicated that Defendant was “approving alternative work

arrangements in four week time periods.”

                                           36.

      No further information was requested, and Ms. Lind continued to prepare for

the start of the school year.

                                           37.

      On the morning of August 17, 2020, Ms. Lind held Zoom meetings with

both her G3 and G4 German classes.

                                           38.

      Afterwards, she met with her G4 colleagues, and then with the Digital

Coach.




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                                         39.

      Ms. Lind was taking all necessary steps to ensure the successful start of the

20-21 school year.

                                         40.

      That afternoon, Ms. Lind was scheduled for a virtual meeting with Ms.

Rambus and the Head of Primary School, Maria Voutos.

                                         41.

      Ms. Lind was told that in order to continue in her position as a teacher, she

would have to come onto campus and teach in person.

                                         42.

      Ms. Voutos asked Ms. Lind if she was going to resign, to which Ms. Lind

responded no, she was not resigning because she could continue to teach virtually.

                                         43.

      Defendant then terminated Ms. Lind’s employment.

                                         44.

      Defendant did not require Ms. Lind to perform any job duties after August

17, 2020, but paid her through September 8, 2020.




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                                        45.

      Defendant made a veiled attempt to appease Ms. Lind by offering that she

could continue performing her Language Coordinator duties remotely, but this was

not an accommodation, as these additional duties were beyond the scope of her

original position, and did not accommodate her medical conditions.

                                        46.

      Defendant refused to engage in any additional dialogue concerning Ms.

Lind’s requests to work remotely full-time while the community was continuing to

deal with the COVID pandemic.

                                        47.

      Defendant failed to engage in the interactive process with Ms. Lind, even

though doing so would not have been an undue hardship.

                                        48.

      Defendant also did not provide Ms. Lind leave as provided under the

FFCRA.

                                        49.

      Instead, Defendant denied her leave, in violation of the FFCRA, and

terminated her employment.




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                                         50.

      Defendant terminated Plaintiff because she had a record of a disability

and/or because it regarded her as disabled and/or because she engaged in protective

activity and/or because she was entitled to the protections of the ADA.

                                         51.

      Employees outside of her protected class, i.e. employees who were not

disabled and/or not immunocompromised, were treated differently, i.e. not

terminated.

                                         52.

      Plaintiff was qualified to perform her position, and had a positive

performance history.

                                         53.

      Plaintiff could have performed the essential functions of her position with an

accommodation, as she had been doing the months before she was terminated.

                                         54.

      Defendant did not terminate Plaintiff because her requests presented any

actual undue hardship, but rather due to the financial greed of the company.




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                             CLAIMS FOR RELIEF

  COUNT I: DISABILITY DISCRIMINATION IN VIOLATION OF ADA

                                           55.

      Plaintiff re-alleges paragraphs 18-54 as if set forth fully herein.

                                           56.

      Plaintiff has a physical impairment which substantially limits one or more

major life activities and leaves her immunocompromised.

                                           57.

      Plaintiff’s pshycial impairment is a “disability” within the meaning of the

ADA, as amended.

                                           58.

      Defendant was aware of Plaintiff’s disability.

                                           59.

      Defendant regarded Plaintiff as having a disability such that she is a person

with a disability and/or perceived disability within the meaning of the ADA, as

amended.

                                           60.

      Plaintiff has a record of having a disability and/or perceived disability such

that she is a person with a disability within the meaning of the ADA, as amended.


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                                            61.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                            62.

      Defendant terminated Plaintiff’s employment because of her disability,

perceived disability, or record of having a disability.

                                            63.

      By terminating Plaintiff’s employment because of her disability, perceived

disability, or record of having a disability, Defendant violated the ADA, as

amended.

                                            64.

      Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text for disability discrimination.

                                            65.

      Defendant treated other employees outside Plaintiff’s protected class

differently.

                                            66.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of this violation of


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the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12111 et

seq., 42 U.S.C. 2000e et seq. and 42 U.S.C. section 1981A.

                                            67.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.

                                            68.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status

as an employee because of her disability.

                                            69.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological

and physical well-being.

                                            70.

      As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.




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                                            71.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                            72.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            73.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

  COUNT II: FAILURE TO ACCOMMODATE IN VIOLATION OF ADA

                                            74.

      Plaintiff re-alleges paragraphs 18-54 as if set forth fully herein.

                                            75.

      Plaintiff has a physical impairment which substantially limits one or more

major life activities and leaves her immunocompromised.


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                                           76.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                           77.

      Defendant was aware of Plaintiff’s disability.

                                           78.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           79.

      Plaintiff was able to perform the essential functions of her job with a

reasonable accommodation.

                                           80.

      Plaintiff requested that Defendant accommodate her disability by allowing

her to continue to work remotely from home during the COVID-19 pandemic.

                                           81.

      Upon receiving Plaintiff’s request for an accommodation, Defendant failed

to engage in the interactive process with Plaintiff regarding her request for a

reasonable accommodation of her disability.




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                                            82.

         Defendant refused to provide Plaintiff with reasonable accommodations,

even though to do so would not impose an undue hardship.

                                            83.

         By refusing to accommodate Plaintiff, Defendant violated the ADA, as

amended.

                                            84.

         Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s failure to accommodate Plaintiff’s disability was undertaken in bad

faith.

                                            85.

         The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and has otherwise adversely affected her status

as an employee because of her disability.

                                            86.

         As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological

and physical well-being.




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                                            87.

      As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                            88.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                            89.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            90.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).




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              COUNT III: RETALIATION IN VIOLATION OF
                       THE ADA, AS AMENDED

                                           91.

      Plaintiff re-alleges paragraphs 18-54 as if set forth fully herein.

                                           92.

      Plaintiff has a physical impairment which substantially limits one or more

major life activities and leaves her immunocompromised.

                                           93.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                           94.

      Defendant was aware of Plaintiff’s disability.

                                           95.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           96.

      Defendant terminated Plaintiff for requesting an accommodation for her

disability and/or perceived disability.




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                                          97.

      Plaintiff’s request for an accommodation of her disability and/or perceived

disability constitutes protected conduct under the ADA, as amended.

                                          98.

      Defendant retaliated against Plaintiff by terminating her employment on the

basis of her request for an accommodation.

                                          99.

      Defendant terminated Plaintiff’s employment within a close temporal

proximity to Plaintiff’s accommodation requests.

                                       100.

      Defendant’s proffered reasons for terminating Plaintiff’s employment are a

pretext designed to hide Defendant’s retaliatory motive.

                                       101.

      Defendant’s retaliatory actions against Plaintiff were in violation of the

ADA, as amended.

                                       102.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was undertaken in bad faith.




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                                        103.

      As a result of Defendant’s retaliatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                        104.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                        105.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                        106.

      Plaintiff thus seeks compensatory and punitive damages pursuant to 42

U.S.C. § 12111 et seq.




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                    COUNT IV: VIOLATIONS OF THE FFCRA

                                           107.

         Plaintiff re-alleges paragraphs 18-54 as if set forth fully herein.

                                           108.

         At all times material to this Complaint, Defendant was a covered employer

under the FFCRA because Defendant has been a private employer and has had

fewer than five hundred (500) employees.

                                           109.

         Plaintiff was an employee under the FFCRA eligible for paid sick leave and

paid leave due to the fact that her physician had quarantined her because of

COVID.

                                           110.

         On July 23, 2020, Plaintiff notified Defendant that her physician had

quarantined her due to COVID.

                                           111.

         Because of this, under the FFCRA, to the extent that Defendant determined

this rendered her unable to work, Plaintiff qualified for two weeks of paid sick

leave.




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                                        112.

      As a result of Defendant’s willful violations of the FFCRA, Plaintiff is

entitled to the pay for two weeks of leave as well as liquidated damages.

                                        113.

      By reason of the said intentional, willful and unlawful acts of Defendant,

Plaintiff has suffered damages plus incurring costs and reasonable attorney’s fees.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including   ratification,

                   condonation and approval of said acts;

      (c)          Special damages and/or liquidated damages for lost wages and

                   benefits and prejudgment interest thereon;

      (d)          Reasonable attorney's fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;




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      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;

      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof,

                   and prohibiting Defendant from further unlawful conduct of the

                   type described herein; and

      (i)          All other relief to which she may be entitled.



      Respectfully submitted the 12th day of March, 2021.

                                         BARRETT & FARAHANY

                                         s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

                                         Attorney for Jennifer Lind

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